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                                   8                                    UNITED STATES DISTRICT COURT

                                   9                                   NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

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                                  12       JOHN J. HURRY, et al.,                            Case No. 17-mc-80026-LB
Northern District of California
 United States District Court




                                  13                     Plaintiffs,
                                                                                             ORDER
                                  14              v.
                                                                                             Re: ECF No. 16
                                  15       FINANCIAL INDUSTRY REGULATORY
                                           AUTHORITY, INC.,
                                  16
                                                         Defendant.
                                  17

                                  18         The plaintiffs sued the Financial Industry Regulatory Authority (“FINRA”) in the District of

                                  19   Arizona; the two remaining claims are defamation and false light based on FINRA’s allegedly

                                  20   providing false information to the reporter William Meagher. See Hurry v. Fin. Indus. Reg. Auth.

                                  21   Inc., No. CV-14-02490-PHX-ROS, 2015 U.S. Dist. LEXIS 90147, at *9–11 (D. Ariz. Apr. 4,

                                  22   2016). Mr. Meagher published articles between 2013 and 2015 about whether the plaintiffs’ stock-

                                  23   brokerage firm was involved in a fraud; the articles were based on a confidential source (thought

                                  24   by plaintiffs to be FINRA). Id. They subpoenaed Mr. Meagher for a deposition and for documents

                                  25   relating to his communications with his source. (ECF No. 3-1 at 5.1) Mr. Meagher moved to quash

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                                        Citations refer to material in the Electronic Case File (“ECF”); pinpoint citations are to the ECF-
                                  28   generated page numbers at the top of documents.

                                       ORDER — No. 17-mc-80026-LB 
